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                EXHIBIT 1
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                                                                                                                                                   SUM-100
                                          SUMMONS                                                                            FOR COURT USE ONLY
                                                                                                                         (SOLO PARA USO DE LA CORTE)
                                 (CITACION JUDICIAL)
NOTICE TO DEFENDANT:
(AVISO AL DEMANDADO):
TYLER TECHNOLOGIES INC., a Delaware Corporation and DOES 1 through 50                                                           3/7/2022
YOU ARE BEING SUED BY PLAINTIFF:
(LO ESTÁ DEMANDANDO EL DEMANDANTE):
 SANJIV N. SINGH, an Individual; SANJIV N. SINGH, A PROFESSIONAL LAW
 CORPORATION, a California Corporation
NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
below.
   You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
Online Self-Help Center (www.courtinfo.ca.gov/selfhelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask the
court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property may
be taken without further warning from the court.
   There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
these nonprofit groups at the California Legal Services Web site (www.lawhelpcalifornia.org), the California Courts Online Self-Help Center
(www.courtinfo.ca.gov/selfhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
¡AVISO! Lo han demandado. Si no responde dentro de 30 días, la corte puede decidir en su contra sin escuchar su versión. Lea la información a
continuación.
   Tiene 30 DÍAS DE CALENDARIO después de que le entreguen esta citación y papeles legales para presentar una respuesta por escrito en esta
corte y hacer que se entregue una copia al demandante. Una carta o una llamada telefónica no lo protegen. Su respuesta por escrito tiene que estar
en formato legal correcto si desea que procesen su caso en la corte. Es posible que haya un formulario que usted pueda usar para su respuesta.
Puede encontrar estos formularios de la corte y más información en el Centro de Ayuda de las Cortes de California (www.sucorte.ca.gov), en la
biblioteca de leyes de su condado o en la corte que le quede más cerca. Si no puede pagar la cuota de presentación, pida al secretario de la corte que
le dé un formulario de exención de pago de cuotas. Si no presenta su respuesta a tiempo, puede perder el caso por incumplimiento y la corte le podrá
quitar su sueldo, dinero y bienes sin más advertencia.
   Hay otros requisitos legales. Es recomendable que llame a un abogado inmediatamente. Si no conoce a un abogado, puede llamar a un servicio de
remisión a abogados. Si no puede pagar a un abogado, es posible que cumpla con los requisitos para obtener servicios legales gratuitos de un
programa de servicios legales sin fines de lucro. Puede encontrar estos grupos sin fines de lucro en el sitio web de California Legal Services,
(www.lawhelpcalifornia.org), en el Centro de Ayuda de las Cortes de California, (www.sucorte.ca.gov) o poniéndose en contacto con la corte o el
colegio de abogados locales. AVISO: Por ley, la corte tiene derecho a reclamar las cuotas y los costos exentos por imponer un gravamen sobre
cualquier recuperación de $10,000 ó más de valor recibida mediante un acuerdo o una concesión de arbitraje en un caso de derecho civil. Tiene que
pagar el gravamen de la corte antes de que la corte pueda desechar el caso.
The name and address of the court is:                                                                   CASE NUMBER: (Número del Caso):
(El nombre y dirección de la corte es):                                                                               22-CIV-00985
Superior Court of San Mateo County, 400 County Center, Redwood City, CA 94063
The name, address, and telephone number of plaintiff's attorney, or plaintiff without an attorney, is: (El nombre, la dirección y el número
de teléfono del abogado del demandante, o del demandante que no tiene abogado, es):
Sanjiv N. Singh, A Prof.Law Corp.; 1650 S. Amphlett Blvd. Suite 220, San Mateo, CA 94402 | (650) 389-2255 | admin@sanjivnsingh.com
DATE:                                         Neal I. Taniguchi                Clerk, by                                          , Deputy
(Fecha)
          03/07/2022                                                                            /s/ Unaloto Finau                 (Adjunto)
                                                                               (Secretario)
(For proof of service of this summons, use Proof of Service of Summons (form POS-010).)
(Para prueba de entrega de esta citatión use el formulario Proof of Service of Summons, (POS-010).)
                                 NOTICE TO THE PERSON SERVED: You are served
 [SEAL]
                                     1.          as an individual defendant.
                                     2.          as the person sued under the fictitious name of (specify):

                                     3.          on behalf of (specify):
                                          under:        CCP 416.10 (corporation)                                  CCP 416.60 (minor)
                                                        CCP 416.20 (defunct corporation)                          CCP 416.70 (conservatee)
                                                        CCP 416.40 (association or partnership)                   CCP 416.90 (authorized person)
                                                        other (specify):
                                     4.          by personal delivery on (date)                                                                        Page 1 of 1
Form Adopted for Mandatory Use
Judicial Council of California
                                                                     SUMMONS                                                 Code of Civil Procedure §§ 412.20, 465
                                                                                                                                                 www.courts.ca.gov
SUM-100 [Rev. July 1, 2009]
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 1   SANJIV N. SINGH, A PROFESSIONAL LAW CORPORATION
     Sanjiv N. Singh (SBN 193525)
 2   1650 S. Amphlett Blvd. Suite 220
     San Mateo, CA 94402
 3   Phone: (650) 389-2255
     Email: admin@sanjivnsingh.com
 4
     INDRAJANA LAW GROUP, A PROFESSIONAL LAW CORPORATION
 5   Michael B. Indrajana (SBN 258329)
     1650 S. Amphlett Blvd. Suite 220
 6   San Mateo, CA 94402
     Phone: (650) 597-0928                             3/7/2022
 7   Email: michael@indrajana.com

 8
     Attorneys for Plaintiff SANJIV N. SINGH and SANJIV N. SINGH, A PROFESSIONAL LAW
 9   CORPORATION
10
                 IN THE SUPERIOR COURT OF THE STATE OF CALIFORNIA
11
                         IN AND FOR THE COUNTY OF SAN MATEO
12
                                  UNLIMITED JURISDICTION
13                                                       22-CIV-00985
     SANJIV N. SINGH, an individual; and SANJIV Case No.:
14   N. SINGH, A PROFESSIONAL LAW
     CORPORATION, a California Corporation;        COMPLAINT FOR DAMAGES AND
15                                                 OTHER RELIEF
           Plaintiffs,
16                                               1. VIOLATION OF CALIFORNIA CIVIL
           v.
17                                                   CODE §3344 ET SEQ.
     TYLER TECHNOLOGIES, INC., a Delaware        2. DEFAMATION AND DEFAMATION
18   Corporation;                                    PER SE.
                                                 3. VIOLATION OF CALIFORNIA
19   and DOES 1 through 50,
                                                     BUSINESS AND PROFESSIONS CODE
20         Defendants.                               §17200 ET SEQ.

21                                                    JURY TRIAL DEMANDED
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                                 COMPLAINT FOR DAMAGES
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 1
 2          Plaintiffs SANJIV N. SINGH and SANJIV N. SINGH, A PROFESSIONAL LAW

 3   CORPORATION (“Plaintiffs”), through their counsel Sanjiv N. Singh, A Professional Law

 4   Corporation and Indrajana Law Group, A Professional Law Corporation, bring this action against

 5   Defendant TYLER TECHNOLOGIES INC. (“Defendant” or “TYLER”) for violation of California

 6   Civil Code Section 3344, defamation, defamation per se, and violation of California Business and

 7   Professions Code Section 17200, and allege, on information and belief, as follows:

 8                                            I. INTRODUCTION

 9   1.     Defendant TYLER TECHNOLOGIES is a billion-dollar company with offices in multiple

10   cities across the United States including California. As TYLER advertises on its own website, it

11   provides a suite of software services and platforms to government agency customers across the United

12   States. TYLER advertises to the public that it operates and provides cloud-based data platforms for

13   multiple government agencies.

14   2.     At some point in time, TYLER took over the public access and management of data for various

15   California Superior Courts. On platforms it controls and hosts, with numerous logos and copy

16   advertising to the public that the data platform is “powered by Tyler Technologies,” Defendant

17   TYLER’s products display data to the public, attorneys, courts, and others in connection with each

18   and every case pending in particular jurisdictions. TYLER’S products use individual attorney names

19   to populate fields to indicate who is counsel of record for a particular matter and whom they represent.

20   Such information is vital to the public, to the Courts, to parties litigating, and to attorneys.

21   3.     Plaintiff SANJIV N. SINGH is an experienced litigator who has practiced law for over 24

22   years. For nearly two decades, Plaintiff SINGH’s practice has focused on complex civil litigation. As

23   noted on the SANJIV N. SINGH, A PROF. LAW CORP. website, his practice is focused on advocacy

24   for individuals, families, and corporations who have suffered catastrophic losses, injury or who have

25   been the victims of misconduct or malfeasance. Plaintiff SANJIV N. SINGH, A PROF. LAW CORP.

26   was founded by Plaintiff SINGH in 2002 after he left the global firm Skadden Arps where he was one

27   of the early attorneys in Skadden’s Palo Alto office. Plaintiff SINGH has been interviewed and quoted

28   by major news agencies including The New York Times, BBC, and Bloomberg. He has published in



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 1   the New England Journal of Medicine and the AMA’s Journal of Ethics, been a panelist at the Bar
 2   Association of San Francisco, and has been an invited peer reviewer for publications. He was most
 3   recently featured for his work leading lawsuits against Boeing on behalf of multiple Boeing 737 Max
 4   victim families in the critically acclaimed Doubleday book Flying Blind by Peter Robison, now
 5   considered the definitive account of the Boeing 737 Max catastrophes.
 6   4.     Against this backdrop, in 2021, Plaintiff SINGH had two cases in Yolo County Superior Court
 7   and otherwise, due to the nature of his cases and geographic location, Plaintiff SINGH did not regularly
 8   practice in Yolo County. Around this time, Plaintiff SINGH was notified that his name had mistakenly
 9   appeared in another matter. Upon inquiry, a clerk at the Yolo County Superior Court indicated to
10   Plaintiff SINGH that an outside vendor (later represented by Yolo County to be Tyler Technologies)
11   had made a mistake when porting data to TYLER’s platform; both the Court and Plaintiff SINGH
12   were left with the impression it was an isolated mistake. The Court indicated that it was notifying the
13   outside vendor of the issue.
14   5.      However, by 2022, Plaintiff SINGH was receiving notices in connection with multiple cases
15   he did not recognize, and with alarming frequency. Testing a suspicion that the issue was widespread,
16   Plaintiff SINGH’s colleague, a long time co-counsel who had collaborated with Plaintiff SINGH on
17   multiple Boeing cases, ran a search for Plaintiff SINGH’s name in Yolo County’s Online Case Search
18   powered by Tyler Technologies, and discovered that Plaintiff SINGH’s name literally stalled the
19   online platform’s search engine, prompted a message indicating more search results than could be
20   displayed, and was startled to find out that Plaintiff SINGH was listed as counsel of record for what
21   was at that time an unknown and large number of cases in Yolo County. The TYLER online platform
22   for Yolo County’s online case records was displaying Plaintiff SINGH’s name incorrectly to other
23   attorneys, the public, and the Court, and anyone who used their platform. The reason for the increasing
24   frequency of notices and emails from other attorneys on unknown cases was now readily apparent.
25   Plaintiff SINGH was depicted on the database as an attorney representing large government agencies,
26   institutions, individuals in probate matters, plaintiffs and defendants in motor vehicle disputes,
27   conservatorships, and the list goes on. Plaintiff SINGH was also shown as counsel of record in
28   numerous matters with upcoming hearings in front of several Yolo County Superior Court Judges.


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 1   6.      It appeared that TYLER, even though aware of the issue in 2021, had allowed Plaintiff
 2   SINGH’s name to remain in their defective product. As set forth in greater detail below, it is alleged
 3   that the billion-dollar corporation TYLER knowingly allowed this error to continue, allowing Plaintiff
 4   SINGH’s name to appear in hundreds of records, such that as of March 3, 2022, Plaintiff SINGH’s
 5   name remained incorrectly presented, inaccurately portrayed, and confusingly shown to members of
 6   the public, named parties, other attorneys, the Yolo County Superior Court, and other third parties.
 7   7.      This lawsuit will aim to hold TYLER accountable for the conduct alleged above. Shockingly,
 8   and as set forth in great detail below, TYLER has shown repeated and callous disregard for the
 9   professional life and reputation of Plaintiff SINGH. Investigation of public records suggests that
10   TYLER has also historically shown callous and repeated disregard for the integrity of information and
11   data powering some of the most critical government departments—the Superior Courts of counties in
12   the State of California. 1 Indeed, while this lawsuit will seek to hold TYLER accountable seeking
13   compensatory, statutory, and punitive damages, this is not the first time TYLER is alleged to have
14   caused catastrophic injury to private individuals because of data improperly entered, displayed, and/or
15   processed in its systems. This makes TYLER’s conduct that much more outrageous and intolerable—
16   this lawsuit therefore aims to not simply hold TYLER accountable but to also shed light on the deep
17   systemic issues. TYLER’s conduct here raises concerning questions as to why the State of California
18   allows this entity to provide critical data services to its government agencies.
19                                                II. THE PARTIES
20   8.      Plaintiff SANJIV N. SINGH., has at all relevant times, resided in the county of San Mateo,
21   State of California. Plaintiff is an attorney who has practiced law in the State of California for more
22   than 24 years.
23   9.      Plaintiff SANJIV N. SINGH, A PROFESSIONAL LAW CORPORATION, was at all relevant
24   times a California corporation doing business in the State of California, specifically in San Mateo
25   County, and is 100% owned by Sanjiv N. Singh.
26   10.     Defendant TYLER TECHNOLOGIES, INC. (“TYLER”) was at all relevant times a Delaware
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28
     1
      See e.g., Notice of Motion to Compel an Accurate and Contemporaneous Record of Court Proceedings filed by Chief
     Public Defender Brendon D. Woods in Superior Court of California, October 8, 2016.



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 1   Corporation who does business throughout the state of California and has multiple offices in
 2   California. Defendant TYLER TECHNOLOGIES purports to be a leading provider of government
 3   software, including the majority of California courts.
 4   11.     The true names and capacities, whether individual, corporate, partnership, associate or
 5   otherwise, of Defendant DOES 1 through 50, inclusive (“Doe Defendants”), are unknown to Plaintiffs.
 6   Therefore, Plaintiffs sue these Doe Defendants by such fictitious names under California Code of Civil
 7   Procedure Section 474. Plaintiffs will amend this Complaint to allege their true names and capacities
 8   when they are ascertained. Collectively and individually, the named Defendant and DOES 1 through
 9   50 are referred to as “Defendants.”
10   12.     Each Defendant named in this Complaint, including each of the Doe Defendants, is responsible
11   in some manner for one or more of the events and happenings described herein. Each Defendant
12   proximately caused the injuries and damages alleged.
13                                     III. JURISDICTION AND VENUE
14   13.     Jurisdiction. This Court has jurisdiction over this action pursuant to Section 410.10 of the
15   California Code of Civil Procedure. Plaintiffs bring this action to recover damages and other relief
16   available at law or in equity. All acts and omissions complained of in this action took place in the State
17   of California.
18   14.     Venue. Venue is proper in this Court pursuant to Sections 395 and 395.5 of the California
19   Code of Civil Procedure. The injuries to the persons complained of herein occurred in the county in
20   which this action was filed. At all relevant times, Defendant transacts business throughout the State of
21   California. The course of conduct, breaches, violations, and unlawful patterns and practices alleged
22   herein occurred in this county.
23
                                       IV. FACTUAL ALLEGATIONS
24
             A. Plaintiff Sanjiv N. Singh’s Professional Background.
25
     15.     Plaintiff Sanjiv N. Singh has practiced law for more than 24 years, with a recognized,
26
     successful practice focused on catastrophic loss and corporate malfeasance. Plaintiff SINGH has
27
     prosecuted numerous high-profile lawsuits against defendants in areas related to construction safety,
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 1   child safety, whistleblowing, health care fraud, commercial defamation, wrongful death, aviation
 2   safety, and corporate malfeasance. His work has been recognized in books and publications, and he
 3   has been quoted by The New York Times, Bloomberg, BBC, and others. His groundbreaking work on
 4   aviation liability releases in global catastrophes such as the 737 Max litigation was detailed in the
 5   critically acclaimed book Flying Blind (Doubleday) by Peter Robison, and in a televised and print
 6   expose by Panorama produced by the BBC. Plaintiff SINGH also has a niche practice drawing on his
 7   training and experience as a UCSF and Stanford trained internal medicine and emergency physician—
 8   he has represented healthcare trainees, physicians, medical students, fellows, and researchers across
 9   the country in various kinds of cases relating to misconduct by departmental heads, harassment,
10   ACGME violations, NRMP violations and investigations, and medical board proceedings. Like other
11   successful attorneys, Plaintiff SINGH worked for many years to grow a particular practice focus. His
12   reputation is based on the work he performs and the public record of that work. There is only one
13   attorney named Sanjiv Singh in the State of California, and that is Plaintiff SINGH. It is believed that
14   Plaintiff SINGH is the only attorney with his name actively practicing in the United States.
15   16.     Plaintiff SINGH does not handle probate matters or conservatorships, and does not represent
16   government entities or very large corporations (indeed, more often he is suing them). Where he has
17   taken defense work, it is for select grandfathered or close clients whom he knows well and where he
18   has vetted the nature of the matter. Plaintiff SINGH and his practice do not represent banks,
19   government entities, or large companies in actions against individuals. Plaintiff Singh does not practice
20   family law, wills and trusts, or conservatorship law.
21           B. Defendant Tyler Technologies’ Highly Lucrative Contracts with The California
             Judicial Council.
22
23   17.     On March 1, 2019, the California Judicial Council entered into a Master Agreement with Tyler

24   Technologies Inc. As is evidenced from the Agreement, the various counties of the State of California

25   including Yolo County collectively have been paying Defendant TYLER millions of dollars to provide

26   cloud-based online data platforms and public access to online court records which are supposed to

27   accurately display critical party, attorney, and case information to the public, the courts, and other

28   agencies. Taxpayer dollars directly fund the TYLER licenses to the California court system.



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 1   18.     In Yolo County, the transition process from a previous system to the TYLER
 2   TECHNOLOGIES system is believed to have commenced in or around June 2019. On information
 3   and belief, TYLER TECHNOLOGIES was hired to complete this transition and provided a cloud-
 4   based platform product for the general public online access to Yolo County Superior Court’s civil case
 5   information and filing. The product, by its nature, uses names of parties, counsel, and judges, and is
 6   relied upon by the general public as an accurate reflection of Yolo County Superior Court’s records
 7   for various civil proceedings.
 8           C. Defendant Tyler Technologies’ Rampant Dissemination and Use of the Name “Sanjiv
             N. Singh.”
 9
     19.     In 2019, Plaintiff SINGH had only one case in Yolo County Superior Court, which is a medical
10
     malpractice case. In July of 2020, Mr. Singh assumed representation of one other client for a defense
11
     matter that was supposed to go to arbitration, but which was filed by the plaintiff in that matter in Yolo
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     County Superior Court. These are the only two cases Mr. Singh has had in the Yolo County Superior
13
     Court system through the present day.
14
     20.     Beginning in or around October 2021, Plaintiff SINGH began receiving notices on cases he
15
     did not recognize. At first, there were only believed to be a few. The Court in good faith informed
16
     Plaintiff SINGH that they believed it was an error from their third-party vendor, and assured Plaintiff
17
     SINGH that the issue was corrected. Because it was inconceivable that government records would be
18
     incorrect to the degree later discovered, Plaintiff SINGH accepted this assurance. In one of the cases,
19
     he informed the various attorneys of record that he was not counsel of record. Because those attorneys
20
     used File & ServeXpress, which appeared to rely on the Yolo County Superior Court’s online case
21
     records hosted on TYLER’s platform, they stated that they could not remove Plaintiff SINGH’s name.
22
     The Yolo County Superior Court clerk’s office assured Plaintiff SINGH that it would be addressed.
23
     21.     Indeed, unbeknownst to Plaintiff Singh, the extent to which his name was used improperly, by
24
     and in the TYLER hosted Yolo County Superior Court online case records platform, was more than
25
     either the Yolo County court or Mr. Singh realized. At some point in 2022, Plaintiff Singh’s office
26
     began receiving an increased number of notices from other cases including probate matters, contract
27
     matters, and others. Based on this, one of Mr. Singh’s colleagues from another matter who heard of
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                                                         7
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 1   the issue and was shocked decided to run a query on Mr. Singh’s name on the Yolo County online
 2   case search interface operated by TYLER. The results were shocking. The online portal actually
 3   showed a notable delay in running the query, generated a warning that it could only generate 200
 4   results and that there may be more. Below are illustrative examples.
 5          (a)     Plaintiff SINGH was shown as counsel of record in multiple cases in the Yolo County
 6                  Online Case Records, and the search result expressly suggested there were more results
 7                  than could be displayed (the print-out of the limited display is attached to this
 8                  Complaint as Exhibit 1):
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17          (b)     Many of the case types fell outside the scope of work that Plaintiff SINGH does or has
18                  ever done, including probate work and conservatorships, which can be seen in the
19                  search result screenshot attached to this Complaint as Exhibit 1.
20
21          (c)     Additional searches showed Plaintiff SINGH having multiple upcoming hearing
22                  appearances, including before judges who preside over the two cases in which Plaintiff
23                  SINGH is counsel of record. A sample screenshot of the March 2022 list for matters in
24                  which Plaintiff SINGH is incorrectly listed as counsel and scheduled for appearance is
25                  provided on the following page:
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27
28


                                                       8
                                       COMPLAINT FOR DAMAGES
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 1
 2   Hea ring Sea rch Results
     Hearings for Attorney Name sanjiv singh between 2128;2022 and 41112022
 3
      Case             SAIL!                                        Date a:         Hearinq        Judqe
 4    Number           Defendant                                    _Tlme           IVE
      PR—2017-137      CONSERVATORSHIP       Conservatorship        31'3f2022       *Other         Walk,
 5                     OF TABAREZ                                   9:00 AM         Hearing        Daniel M

 6   CU—2020-61?       ROMINGER VS           U6: Uniimited          3f4f2022        *Motion        Walk,
                       ROMINGER              Breach of              9:00 AM                        Daniel M
 7                                           Cr] ntratifWa n‘anty

 8   {IV—20174 747     REMARm                [16: Unlimited         3,11 1.172022   *Motion        Walk,
                       PARTNERS LLC VS       Breach of              9:00 AM                        Daniel M
 9                     GIBSON CENTER LP      Contradearranty

10   {N-2017—1 7'47    REMARCK               [16: UnEimited         31‘1 1I2022     *Motion        Walk,      DEF
                       PARTNERS LLC VS       Breach of              9:00 AM                        Daniel M
11                     GIBSON CENTER LP      CuntratIfWarTanty

12   W—2020-585        AG LINK, INC. VS.     [16: Unlimited         3114f2022       *Trial         McAdam,    Den
                       B.N.W. LOGISTICS      Breach of              9:00 AM         Readiness      Samuel     10
13                     TRANSPORT, INC.       CcntratifWanenty                       Conference     T.


14   {N—2020-750       ZENITH INS            23: Uniimited          3,0‘14I2022     *Trial: Jury   McAdam,
                       COMPANY VS.           Other PUPDIWD          10:30 AM                       Samuel
15                     PREMIER AG                                                                  T.

     [TU-20174 747     REMARK                [16: Unlimited         3f14f2022       *Trial:
16                                                                                                 Walk,
                       PARTNERS LLC VS       Breach of              10:30 AM        (hurt          Daniel M

17                     GIBSON CENTER LP      ContratIfWarTanty

     {N—2020—949       WALKER VS NOR-        15: Unlimited          3113'1'2022     *Trial         Walk,
18                     CAL PIPELINE          Other                  9:00 AM         Readiness      Daniel M
                       SERVICES
19                                           Employment                             Conference

     (N—2020-586       AG LINK, INC. VS.     [16: Unlimited         3f17f2022       *Motion        McAdam,
20                     B.N.W. LOGISTICS      Breach of              9:00 AM                        Samuel
                       TRANSPORT, INC.       CentratifWa rranty                                    T.
21
      PR—2U2l-12   1   CONSERVATORSHIP       Cc nsenratorshi p      3191,0022       *Review        Walk,
22                     OF CHARLES                                   9:00 AM                        Daniel M

23    FL—20 18-934     DU NSTON VS.          Dissolution            3f23f2022       *Trial         Cortes,
                       DU NSTON              Without Minor          9:00 AM         Setting        Sonia
24                                           Children                               Conference

25   {N—2020-6 1 ?     ROMINGER VS           [16: Unlimited         4f1f2022        *Tn'al         Walk,      Der]
                       ROHINGER              Breach of              9:00 AM         Readiness      Daniel M   9
26
27                                                                                                         MWM       10:32 AL

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                                           COMPLAINT FOR DAMAGES
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 1           (d)    In one egregious instance, Plaintiff SINGH’s name was listed as attorney of record for
 2                  the Yolo County District Attorney Office.
 3           (e)    In another equally, if not more egregious instance, Plaintiff SINGH was listed as
 4                  attorney of record for both Plaintiff and Defendant in the same matter.
 5   22.     As of the filing of this Complaint, the damage to Plaintiffs has been propagated across the
 6   internet. Specifically, Plaintiff SINGH has discovered that other third-party publications have picked
 7   up the erroneous Yolo County court records and have published them on their own online platforms.
 8   In one platform, Plaintiff SINGH was able to see at least two dozen erroneous entries imported from
 9   the Yolo County Superior Court online records operated by TYLER. In one egregious instance, the
10   third-party platform publishes erroneous court records based on a January 12, 2022 data pull,
11   suggesting that Plaintiff SINGH represents large financial institutions in cases against individuals.
12   This is the literal antithesis of Plaintiff SINGH’s practice profile:
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 1   23.     It is notable that in some instances it has been observed that attorneys and third parties are not
 2   willing to believe that the record is in error, and demand explanation or further explanation. Attorneys
 3   have not removed Plaintiff SINGH’S name from their service list even after they were informed of the
 4   mistake by Mr. Singh. In some instances, it is likely that third parties and other counsel in multiple
 5   instances believed Plaintiff SINGH and his practice were counsel of record but not appearing at
 6   hearings (i.e., was being unprofessional) or that Plaintiff SINGH and his practice had tried to take over
 7   representation without following proper procedural protocol.
 8   24.     On or around Wednesday, February 16, 2022, Plaintiff SINGH and his colleague called the
 9   Yolo County Clerk’s office and discussed the matter with a representative. She acknowledged, as had
10   been stated before, that there was a known problem with porting of data by a vendor and specifically
11   referenced TYLER. She seemed unaware of how many cases had been affected and seemed to have
12   the same impression Plaintiff SINGH had in 2020 that it was only limited to two or three cases. She
13   was polite and professional, took information, and asked Plaintiff SINGH to email additional
14   information, which he did.
15   25.     During the week of February 28, 2022, Counselor Singh contacted Andrea Fravert, “Group”
16   General Counsel for TYLER, through her LinkedIn profile using Plaintiff SINGH’s private LinkedIn
17   messaging requesting explanation and demanding action by TYLER. Plaintiff SINGH’s message was
18   fairly detailed and requested assistance. Plaintiff SINGH used LinkedIn to contact Ms. Fravert because
19   TYLER does not make its senior management’s emails readily available.
20   26.     Ms. Fravert sent the following one-line response with no sign, at least at that time, of
21   willingness to help or acknowledgement of the gravity of the situation:
22
23                 Please send this message to my work email andrea.fravert@tylertech.com.
24
25   27.     On March 2, 2022, Plaintiff SINGH emailed Ms. Fravert twice at the email above, imploring
26   TYLER for immediate assistance. At this point, Plaintiff SINGH mentioned a possible 200+ cases
27   improperly displaying his name because on that date that was all he knew.
28   28.     However, on March 3, 2022, Plaintiff SINGH contacted Yolo County again for an update as


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 1   to what Yolo County had been able to determine. Yolo County indicated that they had reached out to
 2   TYLER, but stated expressly that they were not getting meaningful response. At that point, Yolo
 3   County made a shocking disclosure to Plaintiff SINGH: that his name was incorrectly appearing in
 4   over 900 records and that it had taken them two weeks attempting to fix the issue themselves, and
 5   they had only fixed approximately 200 records. They stated their belief that TYLER should have
 6   fixed it and that it was TYLER’s mistake. The same representative also indicated TYLER was
 7   nonresponsive and not assisting, consistent with TYLER’s track record in publicly available
 8   documents.
 9   29.     By March 4, 2022, Plaintiff SINGH’s team sent a representative to Yolo County. The
10   representative obtained copies of some of the court records the Court had in its possession showing
11   the errors, and the clerk informed Plaintiff SINGH’s co-counsel by telephone that she believed this
12   could not be the error of Yolo County since the TYLER database was based on actual court filed
13   documents. Public documents show that in past engagements, the Los Angeles office (or a facility) of
14   TYLER had been used to scan and upload documents from which data was apparently extracted for
15   use on the TYLER platform. It is unknown at the present time how TYLER transitioned YOLO to its
16   platform, and what steps it took to ensure data accuracy and integrity.
17   30.     That same day on March 4, 2022, Plaintiff SINGH attempted to view the online TYLER cloud
18   platform for Yolo County Superior Court, and discovered that the Yolo County Superior Court Online
19   Services maintained by TYLER was suddenly unavailable for public viewing. The attempt to visit the
20   platform generated this result as seen in the screenshot on the following page:
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 1
 2   31.     On March 6, 2022, Ms. Fravert finally responded, but despite being a large company with vast
 3   resources, had no specific information to share with Mr. Singh and requested until March 11 to provide
 4   an update. Her message suggested that she did not know, as of Sunday March 6, 2022, the exact status
 5   of the issue or who was working to resolve it—indeed she instead indicated she needed to follow up
 6   on those issues to determine the information. As of the filing of this Complaint on March 7, 2022, the
 7   Yolo County Online Services hosted by TYLER is still down and cannot be reached by the public.
 8   Mr. Singh’s name has been propagated into incorrect case records across the internet, even while the
 9   TYLER system is down.
10
11                                         V. CAUSES OF ACTION
12           Plaintiffs allege, individually or collectively as indicated, the following causes of actions:

13
14                                       FIRST CAUSE OF ACTION

15         (Violation of California Civil Code Section 3344 Asserted by Plaintiff SINGH against

16                                  Defendant TYLER TECHNOLOGIES)

17   30.     That Plaintiff SINGH re-alleges and incorporates by reference each and every paragraph set

18   forth above;

19   31.     That Defendant TYLER TECHNOLOGIES knowingly used and published Plaintiff

20   SINGH’s name incorrectly on its Yolo County Superior Court online case information website,

21   which is displayed to court employees, the public, and other attorneys;

22   32.     That the use did not occur in connection with a news, public affairs, or sports broadcast or

23   account, or with a political campaign;

24   33.     That Defendant TYLER TECHNOLOGIES did not have Plaintiff SINGH’s consent, and in

25   fact Plaintiff SINGH’s identification of a problem of incorrect records had been brought to its

26   attention on multiple occasions;

27   34.     That Defendant TYLER TECHNOLOGIES’ use of Plaintiff SINGH’s name

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 1   was directly connected to Defendant TYLER TECHNOLOGIES’ commercial purpose because
 2   Plaintiff SINGH’s name was used effectively as a placeholder name for counsel of record for
 3   multiple cases (900+ cases), and Defendant TYLER knowingly allowed this to continue even after
 4   the mistake was brought to its attention rather than disrupting its service and risking loss of revenue
 5   for itself. In other words, TYLER chose to and/or knowingly allowed an attorney’s name to
 6   erroneously remain in its database in records where it did not belong rather than take down the site to
 7   correct the problem, and did this for specific commercial gain. Moreover, Defendant TYLER’s
 8   platform uses attorney names as part of its function to display online court records for public view,
 9   and Defendant TYLER specifically charges significant license fees and maintenance fees to Yolo
10   County Superior Court and other California courts that use its software to operate the online court
11   case data portals, and charges said courts and agencies significant fees for providing public access to
12   the names of cases, parties, and attorneys. The names of the attorneys are therefore a critical part of
13   TYLER’s commercial model, and a critical data point in each record put out on the TYLER
14   platform;
15   35.     That Plaintiff SINGH was harmed by the aforementioned conduct in multiple ways including
16   but not limited to: (i) Plaintiff SINGH’s name was displayed to the public and other counsel in areas
17   of law and in a capacity inconsistent with Plaintiff SINGH’s professional record and practice focus;
18   (ii) Plaintiff SINGH’s name was used in a way that required him to respond to notices and attempt to
19   persuade third parties relying on the information to not believe it, disregard it, or correct it, with
20   some of the third parties choosing to believe TYLER’s website rather than take Plaintiff SINGH’s
21   word for it; (iii) the erroneous hearing dates created significant stress and concern for Plaintiff
22   SINGH that courts and court officers would see his name for scheduled hearings and that non
23   appearances would affect his reputation and track record with the Court; (iv) Plaintiff SINGH’s
24   name was presented in a manner that made him appear unresponsive, unprofessional, or inept to
25   individuals wondering why a supposed counsel of record was not actively attempting to litigate a
26   case; (v) Plaintiff SINGH’s office has had to follow up on numerous third party communications,
27   expending significant hours and manpower to address the distribution of incorrect information; and
28   (vi) the improper use of Plaintiff SINGH’s name is now propagated across the internet because the


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 1   incorrect data is being shared by TYLER TECHNOLOGIES through its platform that allows the
 2   data to be collected and shared across multiple independent case information portals;
 3   36.        That Defendant TYLER TECHNOLOGIES’ conduct was a substantial factor in causing
 4   Plaintiff SINGH’s harm.
 5              WHEREFORE, Plaintiff SINGH seeks judgment and damages against Defendant as set forth
 6   below.
 7                                         SECOND CAUSE OF ACTION
 8         (Defamation and Defamation Per Se Asserted by Plaintiffs Against Defendant TYLER
 9                                               TECHNOLOGIES)
10   37.        That Plaintiffs re-allege and incorporate by reference each and every paragraph set forth above;
11   38.        That Defendant TYLER TECHNOLOGIES, despite knowing that Plaintiff SINGH’s name
12   was used repeatedly in its cloud platform in cases where it did not belong, continued to publish the
13   records containing Plaintiff SINGH’s name, and continued to allow access to the records by the public,
14   the Court, and other third parties;
15   39.        That the erroneous records portrayed Plaintiff SINGH in a manner inconsistent with his long-
16   established professional practice profile, and moreover, depicted Plaintiff SINGH negatively by
17   having him appear as counsel of record in the record without his knowledge such that he could not
18   respond to the matter, having him appear incompetent, unprofessional, and or nonresponsive to third
19   parties;
20   40.        That multiple third parties viewed the records and raised questions about Plaintiff SINGH’s
21   practice and/or SANJIV N. SINGH, A PROF. LAW CORP., including questions from attorneys
22   wondering why Plaintiff SINGH or his office had not responded and, in some instances, leading
23   attorneys who were actually counsel of record to question whether or conclude that Plaintiff SINGH
24   or his office may have improperly taken over representation without notifying actual counsel of record.
25   The records also appeared in some instances as though Plaintiff SINGH or his law practice office
26   SANJIV N. SINGH, A PROF. LAW CORP. were incompetent with electronic filing, because Plaintiff
27   SINGH would appear as counsel of record for both Plaintiff and Defendant in a single case;
28   41.        That Defendant TYLER TECHNOLOGIES’ defamatory publication of Plaintiff SINGH’s


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 1   name was carried out knowingly and in bad faith because after they were alerted that Plaintiff SINGH’s
 2   name was appearing in records erroneously, Defendant chose to leave the records online, failed to
 3   respond to the Court who was requesting help to fix the TYLER platform, and ignored the issue;
 4   42.     That Defendant TYLER TECHNOLOGIES’ defamatory publication of Plaintiff SINGH’s
 5   name is further propagated to third party publications through Tyler Technologies’ online platform;
 6   43.     That attorneys and others who viewed the records reasonably understood that the incorrect
 7   records concern Plaintiff SINGH and SANJIV N. SINGH, A PROF. LAW CORP., because third
 8   parties have actually sent notices, left voicemails, sent emails, and electronically served Plaintiff
 9   SINGH and his practice. Indeed, the belief was so significant that in some cases, that attorneys did not
10   take steps to correct their own records, seeming in some cases to think that Mr. SINGH was trying to
11   remove himself inappropriately or not willing to believe that the record was wrong. Certain third-party
12   vendors, despite being informed of the mistake, chose to believe the TYLER platform rather than
13   attorneys notifying them of the error and stated that Plaintiff SINGH would have to personally contact
14   and inform them, or they would not remove his name. It is likely that third parties and other counsel
15   in multiple instances believed Plaintiff SINGH and his practice were counsel of record but not
16   appearing at hearings (i.e., was being unprofessional) or that Plaintiff SINGH and his practice had
17   tried to take over representation without following proper procedural protocol of new counsel making
18   a new appearance;
19   44.     That the appearance of Plaintiff SINGH’s name, and by implication his practice, in the record
20   was false and defamatory and were made with Defendant’s knowledge;
21   45.     That Defendant TYLER TECHNOLOGIES failed to exercise reasonable care to correct the
22   false statements, and actually continued to publish them and make them available to the public, further
23   continuing the injury to Plaintiff SINGH’s reputation;
24   46.     That as a result of Defendant’s false and defamatory statements about Plaintiffs, Plaintiffs have
25   suffered significant injury to their reputation. In addition, Plaintiff SINGH individually has suffered
26   distress and anxiety because of the false and defamatory statements, worrying about the impact of the
27   statements in the Court, to third parties (some of whom questioned his conduct when they thought he
28   appeared improperly in a case without proper process), and to his professional practice profile and the


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                                        COMPLAINT FOR DAMAGES
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 1   proliferation of the incorrect data to other third-party case data collection and service vendors.
 2   Alternatively, the publication of Plaintiff SINGH’s name and his practice’s name in certain records in
 3   a manner clearly inconsistent with his practice profile (thereby raising the question of whether Mr.
 4   Singh’s asserted practice focus is truthful) and/or in a manner seeming to reflect incompetent filing
 5   practices by Plaintiff SINGH or his practice, constitutes defamation per se and was harmful on their
 6   face;
 7   47.     That Defendant’s false and defamatory publication of Plaintiff SINGH’S name and his
 8   practice’s name/information was in bad faith after Defendant knew of the mistake but allowed the
 9   continued false information about Plaintiff SINGH and his practice to disseminate. This gives rise, in
10   addition to special and presumed general damages as a result of defamation and defamation per se, to
11   punitive damages; and
12   48.     There is no applicable privilege that Defendant can rely on as a defense to its publication of
13   false information about Plaintiffs.
14           WHEREFORE, Plaintiffs seek judgment and damages against Defendant as set forth below.
15                                         THIRD CAUSE OF ACTION
16   (Unfair Business Practices—Violation of Business and Professions Code Sections 17200 et seq.
17                Asserted by Plaintiffs Against Defendant TYLER TECHNOLOGIES)
18   49.     That Plaintiffs re-allege and incorporate by reference each and every paragraph set forth above;
19   50.     That Defendant’s knowing, intentional and reckless conduct, including but not limited to, the
20   knowing and reckless use of SANJIV N. SINGH’s name in records unrelated to Mr. SINGH or his
21   practice, constitutes unlawful, unfair, and fraudulent business practices in violation of, inter alia,
22   California Business and Professions Code § 17200, et seq.;
23   51.     That specifically, Defendant’s conduct was unlawful and unfair, violating California Civil
24   Code § 3344, and further constitutes unlawful business practices under California Business and
25   Professions Code § 17200;
26   52.     Moreover, that Defendant’s conduct in knowingly continuing to publish incorrect records with
27   the name SANJIV N. SINGH was immoral, unethical, oppressive, and unscrupulous, constituting
28   unfair business practices under California Business and Professions Code § 17200. Defendant’s


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 1   misconduct, as previously alleged, constitutes an “unfair business practice” or act within the meaning
 2   of Section 17200 of the UCL, because it violates the strong public policy of protecting the data
 3   integrity of government records upon which Courts, the public, attorneys, and their clients rely;
 4   53.      That Plaintiffs have suffered harm to reputation, professional record, actual loss of time and
 5   costs and expenses to take corrective measures, among other losses, as a result of Defendant’s conduct;
 6   54.      That said Defendant’s conduct was a substantial factor in causing Plaintiffs’ harm; and
 7   55.      That pursuant to California Business and Professions Code § 17203, Plaintiffs seek an order
 8   enjoining Defendant from engaging in further unlawful or unlawful acts, and an order requiring
 9   Defendant to immediately cease use of the name SANJIV N. SINGH except where it is correctly
10   indicated and an order requiring Defendant to designate resources for taking all steps to correct the
11   appearance of SANJIV N. SINGH’s name in any third party records as a result of the rampant error in
12   TYLER’s Yolo County Superior Court online court records system.
13            WHEREFORE, Plaintiffs seek judgment and damages against Defendant as set forth below.
14
15                                           PRAYER FOR RELIEF
16            WHEREFORE, Plaintiffs prays for judgment against Defendant as follows:
17         A. For a permanent and mandatory injunction forbidding Defendant from using Plaintiff SINGH’s
18            name or the name of his practice in any court record where it is not supposed to be, and
19            requiring Defendant to indemnify Plaintiff for future corrective costs required to address the
20            propagated incorrect data;
21         B. For compensatory damages including costs and expenses incurred as a result of Plaintiffs
22            having to repeatedly address the repeated use of Plaintiff SINGH’s name and his practice’s
23            name incorrectly listed in TYLER’s online court records system (including Yolo County
24            Superior Court online case records);
25         C. For statutory damages including those owed under California Civil Code Section 3344 for
26            each instance of publication of Plaintiff SINGH’s name in a distinct and separate court case
27            exhibited on the TYLER online cloud platforms for commercial purpose without his consent;
28         D. For punitive damages according to proof against Defendant where applicable, including for


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                                           COMPLAINT FOR DAMAGES
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 1          violation of California Code Section 3344 and pursuant to California Business and Professions
 2          Code Section 17200;
 3      E. For an award of reasonable attorneys’ fees and costs;
 4      F. For statutory prejudgment interest;
 5      G. For all costs of suit; and
 6      H. For other and further relief as the Court deems just and proper.
 7
 8   Respectfully Submitted,
 9
     DATED: March 7, 2022                                   SANJIV N. SINGH, A PROFESSIONAL LAW
10                                                          CORPORATION
11
12
13                                               By:
                                                            SANJIV N. SINGH
14
15
16                                                          INDRAJANA LAW GROUP, A
                                                            PROFESSIONAL LAW CORPORATION
17
18                                               By:
                                                            MICHAEL B. INDRAJANA
19
20                                                          Attorneys for Plaintiffs SANJIV N. SINGH and
                                                            SANJIV N. SINGH, A PROF. LAW CORP.
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                  EXHIBIT 1
                                  Case 3:22-cv-02195-AGT Document 1-1 Filed 04/07/22 Page 23 of 27                                                                                                             03/02/2022
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      Superior Court of California - County of Yolo                                                                                                                                           Register/ Sign in a v




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       Party Search Results
       The search returned 200 cases that have been grouped by party name, but could have returned more. Please narrow the search by entering more precise criteria.


             Name                                                                                                                    V   Date of Birth                                                         V

         V   SINGH SANJIVN

                                                                                                                                                                                               Cases   (Q)
                                                                                                                                                                                               Judgments (0)

             Cases
              Case Number        V   iii/Le                                             V                                                  V Pairtvm                                  V Mylyp:               V
              CV-2020-1115           23: Unlimited Other PI/PD/WD                           Active                                             PACIFIC VALLEY AVIATION                  Defendant

              CV-2020-1101           26: Unlimited Other Real Property                      Closed                                             WELLS FARGO BANK                         Defendant

              CV-2020-1088           22: Unlimited Auto                                     Active                                             MARSH, JASON TODD                        Defendant

              CV—2020-1112           06: Limited Breach of Contract/Warranty - 10,000       Closed                                             PANTOJA, CAROL                           Defendant
                                     to 25,000


              CV-2020-1081           06: Unlimited Breach of Contract/Warranty              Closed                                             FCA US LLC                               Defendant

              PR-2020-146            Decedent's Estate                                      Active

              CV-2020-1004           06: Limited Breach of Contract/Warranty - under        Active                                             DUTRA, WALTER]                           Defendant
                                     10,000

              CV—2020-997            06: Unlimited Breach of Contract/Warranty              Active                                             CAPAY VALLEY CONNOISSEURS                Defendant

              CV-2020-980            06: Limited Breach of Contract/Warranty - 10,000       Closed                                             AVILA, JAVIER G.                         Defendant
                                     to 25,000


              CV-2020-985            35: Unlimited Other non-PI/PD/WD Tort                  Final                                              YOLO COUNTY DISTRICT ATTORNEY OFFICE     Defendant

              PR—ZDZD-137            Other Probate With At Least One Hearing                Active

              (IV-2020349            15: Unlimited Other Employment                         Removed From Court's Control                       NOR>CAL PIPELINE SERVICES, INC.          Defendant

              CV-2020-937            23: Unlimited Other PI/PD/WD                           Removed From Court's Control                       PILOT TRAVEL CENTERS LLC                 Defendant

              PR—2020-121            Conservatorship                                        Closed                                             CURD, WALTER                             Defendant

              CV-2020-912            15: Unlimited Other Employment                         Closed                                             PIONEER HI-BRED INTERNATIONAL            Defendant

              PR—2020-120            Trust                                                  Active

              CV-2020-846            06: Unlimited Breach of Contract/Warranty              Closed                                             CORE ONE PROPERTIES, LLC                 Defendant

              CV—2020-799            22: Unlimited Auto                                     Closed                                             LEON, ESMERALDA MARTINEZ                 Defendant

              CV-2020»897            15: Unlimited Other Employment                         Active                                             CENTRAL VALLEY BUILDERS SUPPLY           Defendant

              CV<2020~895            22: Unlimited Auto                                     Closed                                             HILL'S PEI’ NUTRITION                    Defendant

              PR-2020-107            Decedent's Estate                                      Closed

              CV-2020-7SD            23: Unlimited Other PI/PD/WD                           Closed                                             PREMIER AG INC                           Defendant

              PR—2020-102            Trust                                                  Closed

              CV-2020-731            22: Unlimited Auto                                     Closed                                             LYFI', INC.                              Defendant

              PR—2020-109            Decedent's Estate                                      Closed


              FL-2020»472            Dissolution Without Minor Children                     Closed                                             MONTES, ODALYS                           Defendant

              PR-2020-81             Other Probate With At Least One Hearing                Closed


              CV—2020-617            06: Unlimited Breach of Contract/Warranty              Active                                             ROMINGER, DANIEL                         Defendant

              CV-2020-519            06: Unlimited Breach of Contract/Warranty              Closed                                             TRICORP GROUP                            Defendant

              CV—2020-S91            42: Unlimited Other Complaint (Not Spec)               Closed                                             MARTIN, CHRISTOPHER                      Defendant

              CV-2020-586            06: Unlimited Breach of Contract/Warranty              Active                                             B.N.W. LOGISTICS TRANSPORT, INC.         Defendant

              CV-2020-524            42: Unlimited Other Complaint (Not Spec)               Closed                                             REEDY CREEK IMPROVEMENT                  Defendant

              CV-2020-507            22: Unlimited Auto                                     Closed                                             BARNETT-JOHNSON, RACHEL                  Defendant

              PR-2020-56             Other Probate With No Hearing                          Closed

              CV-2020-409            42: Unlimited other Complaint (Not Spec)               Closed                                             GALLAGHER, ADAM JAMES                    Defendant
PR-2020-36
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                 Other Probate With At Least One Hearing

PR—2020-30       Decedent's Estate                                   Closed


CV-2020-293      22: Unlimited Auto                                  Closed                         O‘BRIEN, ROSEMARY                         Defendant

CV-2020-300      06: Limited Breach of Contract/Warranty - 10,000    Closed                         WIGGINS, ANNEMARIE E                      Defendant
                 to 25,000


CV-2020-100      22: Limited Auto - 10,000 to 25,000                 Closed                         MARTIN, BRIAN RONALD                      Defendant

CV-2020-182      06: Limited Breach of Contract/Warranty - 10,000    Closed                         CALZADA, CESAR                            Defendant
                 to 25,000


CV-2020-93       4D: Unlimited Mass Tort                             Removed From Court's Control   JUUL LABS INC                             Defendant

CV-2020-119      06: Limited Breach of Contract/Warranty - 10,000    Closed                         SOLIS, MARICRUZ                           Defendant
                 to 25,000


CV<2020-121      06: Limited Breach of Contract/Warranty - 10,000    Closed                         VOSHEVA, LYUDMILA                         Defendant
                 to 25,000


CV-2020-185      06: Limited Breach of Contract/Warranty - 10,000    Closed                         CRONIN, THOMAS G                          Defendant
                 to 25,000


CV-2020-57       06: Unlimited Breach of Contract/Warranty           Closed                         T. B PENICK & SONS, INC                   Defendant

CV-ZDZDSS        32: Limited Residential Unlawful Detainer - under   Closed                         LOPEZ, JESUS                              Defendant
                 10,000

(IV-202017       06: Limited Breach of Contract/Warranty - 10,000    Closed                         BAKER, DEBRA                              Defendant
                 to 25,000


PR-2019-255      Trust                                               Closed


PR—2019-246      Decedent's Estate                                   Closed

PR-ZD 19-244     Conservatorship                                     Closed

PR—2019-234      Other Probate With At Least One Hearing             Closed

PR-2019-210      Other Probate With At Least One Hearing             Active                         OROPEZA-GRIMES, KELII                     Defendant

PR-2019- 194     Other Probate With At Least One Hearing             Active

PR—2019-193      Other Probate With N0 Hearing                       Closed

FL-2019»1 109    other Family Law                                    Active                         CHOATE, AMY WOOD                          Defendant

PR—ZD 19- 144    Trust                                               Closed

PR—2019- 136     Conservatorship                                     Closed

PR—ZD 19- 134    Trust                                               Closed


PR—2019- 128     Conservatorship                                     Closed

PR-2019-125      Trust                                               Active

CV-2019-994      35: Unlimited Other non-PI/PD/WD Tort               Closed                         WASHINGTON UNIFIED SCHOOL DISTRICI'       Defendant

FL-2019- 594     Dissolution Without Minor Children                  Closed                         VOCKEL, TYLER                             Defendant

CV—2019-883      22: Limited Auto - 10,000 to 25,000                 Closed                         MCMULLEN, DUANE F                         Defendant

CV-ZO 19-782     06: Unlimited Breach of Contract/Warranty           Closed                         FCA US LLC                                Defendant




W
FL-2019-486




PR-2019-78
                 Dissolution With Minor Children


                 Conservatorship

                 Decedent's Estate
                                                                     Active

                                                                     Active

                                                                     Closed
                                                                                                    SIMONSEN, JOSEPH CHRISTIAN                Defendant




CV-ZD 19-681     32: Limited Residential Unlawful Detainer - under   Closed                         GILCHRIST, RILLIE                         Defendant
                 10,000

FL—2019-4 19     DV Prevention Without Minor Children                Closed                         WINKLER, STEVE                            Defendant

CV-ZD 19»647     23: Unlimited Other PI/PD/WD                        Closed                         HAYKINGDOM INTERNATIONAL, INC             Defendant

CV—2019-S79      42: Unlimited Other Complaint (Not Spec)            Closed                         REGENTS OF THE UNIVERSITY OF CALIFORNIA   Defendant

CV-2019-616      06: Unlimited Breach of Contract/Warranty           Closed                         FCA US, LLC                               Defendant

PR-2019-62       Decedent's Estate                                   Closed


CV-2019-553      06: Unlimited Breach of Contract/Warranty           Closed                         YOUNG, ROBERT                             Defendant

(IV-2019530      06: Limited Breach of Contract/Warranty - 10,000    Closed                         LAZZERINI, GUIDO                          Defendant
                 to 25,000


CV-2019-532      06: Limited Breach of Contract/Warranty - 10,000    Closed                         WALKER, MARK                              Defendant
                 to 25,000


PR-2019-49       Guardianship                                        Closed


CV-ZD 19-696     06: Unlimited Breach of Contract/Warranty           Closed                         HERNDON, ROSANNA ELAINE                   Defendant

PR-2019- 16      Decedent's Estate                                   Closed

PR—2019-6        Guardianship                                        Closed
CV-2019-77
                Case       3:22-cv-02195-AGTClosedDocument 1-1 Filed 04/07/22
                                                           -
                 06: Limited Breach of Contract/Warranty 10,000
                                                                                      Page 25 of 27 Defendant
                                                                      ROWLAND, TISHANNA
                 to 25,000




W
PR-ZD 19-5




PR-ZD 18-246
                 Guardianship

                 Dissolution With Minor Children

                 Decedent's Estate
                                                                    Closed


                                                                    Closed

                                                                    Active
                                                                             DUARTE, JOSE LUIS                           Defendant




PR—2018-248      Decedent's Estate                                  Final


PR—ZD 18-226     Trust                                              Active

PR-2018-211      Decedent's Estate                                  Closed


PR—ZD 18-20 1    Decedent‘s Estate                                  Closed

FL-2018-934      Dissolution Without Minor Children                 Active   DUNSTON, DENNIS L                           Defendant

PR—ZD 18- 147    Other Probate With At Least One Hearing            Closed

PR-ZOlB- 144     Conservatorship                                    Closed

PR—2018-113      Other Probate With At Least One Hearing            Closed


PR—2018-103      Other Probate With No Hearing                      Closed

PR—ZO 18- 104    Other Probate With At Least One Hearing            Closed


PR—2018-101      Trust                                              Closed

PR-ZD 18-94      Guardianship                                       Closed


PR—2018-97       Decedent's Estate                                  Closed

PR-ZD 18-79      other Probate With At Least One Hearing            Active

PR—2018-75       Trust                                              Closed

PR-ZD 18-72      Other Probate With At Least One Hearing            Active

FL-2018-3 14     Dissolution Without Minor Children                 Closed   CERIANI, MARY ELIZABETH                     Defendant

FL-2018-313      Dissolution With Minor Children                    Closed   VOGT, GARY                                  Defendant

PR-2018-54       Conservatorship                                    Closed


PR—ZD 18-58      Decedent‘s Estate                                  Closed

FL-2018»237      Dept. of Child Support Services (DCSS)             Active   DE LOS SANTOS, SAMUEL                       Defendant

PR—2018-49       Decedent's Estate                                  Final


PR-2018-43       other Probate With At Least One Hearing            Closed   THE SHIRLEY W. ROLEWICZ IRREVOCABLE TRUST   Defendant

FL-2018-204      Dissolution Without Minor Children                 Closed   LADD, NATHAN                                Defendant

FL-2018»206      Dissolution Without Minor Children                 Active   AGUDO, WILHELMINA                           Defendant

PR-ZD 18-37      Conservatorship                                    Final


PR—2018-28       Decedent‘s Estate                                  Closed

PR-ZD 18- 16     Other Probate With At Least One Hearing            Closed


FL—2018-42       Dissolution With Minor Children                    Active   ARMSTRONG, BRIAN                            Defendant

PR-ZD 18- 1      Decedent's Estate                                  Closed

CV—2017-2152     15: Unlimited Other Employment                     Closed   WAL-MART STORES INC                         Defendant

CV-2017-2154     42: Unlimited Other Complaint (Not Spec)           Closed   GENERAL MILLS INC                           Defendant

CV-2017-2123     26: Unlimited Other Real Property                  Closed   KUVELIS, PLATO                              Defendant

PR—ZD 17-279     Guardianship                                       Closed




W
CV-2017-2151     35: Unlimited Other non-PI/PD/WD Tort

                 06: Limited Breach of Contract/Warranty - 10,000
                 to 25,000
                                                                    Closed


                                                                    Final
                                                                             CITY OF DAVIS

                                                                             ROTH BUILDING, LLC
                                                                                                                         Defendant

                                                                                                                         Defendant



PR—2017-277      Guardianship                                       Closed

CV-2017-2106     23: Unlimited Other PI/PD/WD                       Closed   NUGGEI' MARKET INC                          Defendant

CV-2017-2097     22: Unlimited Auto                                 Closed   WHITAKER, SHIREEN                           Defendant

CV-ZD 17-2076    42: Unlimited Other Complaint (Not Spec)           Closed   WAL-MART STORES, INC.                       Defendant

CV—2017-2038     06: Limited Breach of Contract/Warranty - 10,000   Closed   SM ESTADMOEN, DAVE                          Defendant
                 to 25,000


CV-2017-2059     06: Unlimited Breach of Contract/Warranty          Closed   KIA MOTORS OF AMERICA, INC.                 Defendant

(IV-20171069     06: Limited Breach of Contract/Warranty - 10,000   Closed   BALDWIN, MICH ELLE                          Defendant
                 to 25,000


CV-ZD 17-2033    42: Unlimited Other Complaint (Not Spec)           Closed   FPWP GP LLC                                 Defendant

FL-2017-1882     Dissolution With Minor Children                    Closed   RICO, LEAH                                  Defendant
CV-2017-2042
                 Case       3:22-cv-02195-AGTClosedDocument 1-1 Filed 04/07/22
                                                               -
                  06: Limited Breach of Contract/Warranty 10,000       DIAZ, MARTIN
                                                                                    Page 26 of 27 Defendant
                  to 25,000




W
CV-2017-2021




PR-2017-267
                  23: Unlimited Other PI/PD/WD

                  DV Prevention With Minor Children

                  Trust
                                                                            Closed


                                                                            Closed

                                                                            Closed
                                                                                     LEMUS, JEFFREY

                                                                                     SINGH, PARMJIT
                                                                                                                               Defendant

                                                                                                                               Defendant




CV-2017-1971      22: Unlimited Auto                                        Closed   KOVALEN KO, NATASHA                       Defendant

CV-2017-2007      06: Limited Breach of Contract/Warranty      - 10,000     Final    THOMPSON, JENNIFER                        Defendant
                  to 25,000


CV-2017»1931      35: Unlimited Other non-PI/PD/WD Tort                     Closed   REGENTS OF THE UNIVERSITY 0F CALIFORNIA   Defendant

PR-2017-259       Decedent's Estate                                         Final


CV-2017-1950      06: Limited Breach of Contract/Warranty - 10,000          Closed   CASTRO, SERGIO C.                         Defendant
                  to 25,000


PR—2017-253       Decedent's Estate                                         Final


CV-2017-1936      23: Unlimited Other PI/PD/WD                              Closed   GUTIERREZ, RAYMUNDO                       Defendant

CV—2017-1813      22: Unlimited Auto                                        Closed   REGAL HAULING LLC                         Defendant

CV-2017-1907      06: Limited Breach of Contract/Warranty - 10,000          Final    RICHARDSON, JENNIFER                      Defendant
                  to 25,000


CV-2017-1910      06: Limited Breach of Contract/Warranty - 10,000          Closed   SALANDEZ, VANESSA                         Defendant
                  to 25,000


CV-2017-1794      42: Unlimited Other Complaint (Not Spec)                  Closed   DUNBAR, DAVID                             Defendant

CV—2017-1751      06: Unlimited Breach of Contract/Warranty                 Active   ZWETSLOOT, NICHOLAS                       Defendant

CV-2017-1747      06: Unlimited Breach of Contract/Warranty                 Active   LEISER, MALCOLM                           Defendant

CV-2017-1828      22: Unlimited Auto                                        Closed   ROTH, WILLIAM                             Defendant

CV-2017»1839                                                   -
                  06: Limited Breach of Contract/Warranty          10,000   Closed   MORALES, DAVID                            Defendant
                  to 25,000


(IV-20171729      35: Unlimited Other nonrPI/PD/WD Tort                     Closed   LAIRMORE, MICHAEL                         Defendant

CV-2017-1737      Z3: Limited Other PI/PD/WD - 10,000 - 25,000              Closed   KIMZEY WELDING WORKS                      Defendant

PR—2017-237       Other Probate With At Least One Hearing                   Closed

PR-2017-236       Other Probate With At Least One Hearing                   Closed


CV—2017-1710      26: Unlimited Other Real Property                         Closed   CHAVARRIA, SUSAN                          Defendant

CV-2017-1701               Unlimited Other Real Property                    Closed   DEUTSCHE BANK NATIONAL TRUST              Defendant
                   m




                  2    :




CV—2017-1690               Unlimited Other non-PI/PD/WD Tort                Closed   SALAS, ANTONIO ASCENCIO                   Defendant
                   u:




                  3    :




CV-2017»1694               Limited Other PI/PD/WD > 10,000 - 25,000         Closed   JON ES, STEVEN LEE                        Defendant
                  w




                  2    :




CV<2017~1684      4        Unlimited Other Complaint (Not Spec)             Active   MORGAN, TINA                              Defendant
                  N




                       :




CV-2017-1687               Unlimited Other Complaint (Not Spec)                      COUNTY OF YOLO                            Defendant
                  N




                  4    :                                                    Closed

CV-2017-1774      06: Limited Breach of Contract/Warranty - 10,000          Closed   BU RCIAGA, SAMANTHA                       Defendant
                  to 25,000


FL-2017- 1 624    DV Prevention Without Minor Children                      Closed   PETERSON, LORI                            Defendant

FL—2017-1625      DV Prevention Without Minor Children                      Closed   PETERSON, DEREK                           Defendant

PR-ZD 17-229      Trust                                                     Opened   Holdener, Kayla                           Defendant




W
CV—2017-1736      06: Limited Breach of Contract/Warranty - 10,000          Closed   CHAVEZ, NANCY                             Defendant
                  to 25,000


                  06: Limited Breach of Contract/Warranty - 10,000          Closed   NISTORENCO, NADEJDA                       Defendant
                  to 25,000


FL-2017-1671      Dissolution With Minor Children                           Closed   RAMIREZ-TATE, ELSY GHISLELI               Defendant




W
CV-2017-1631      06: Unlimited Breach of Contract/Warranty

                  06: Limited Breach of Contract/Warranty - 10,000
                  to 25,000
                                                                            Closed


                                                                            Closed
                                                                                     ALISTATE INSURANCE COMPANY

                                                                                     SANTOS, CARLOS
                                                                                                                               Defendant

                                                                                                                               Defendant



PR—2017-221       Other Probate With No Hearing                             Closed

(IV-20171592      15: Unlimited Other Employment                            Closed   DIGNlTY HEALTH                            Defendant

CV-2017-1576      32: Limited Residential Unlawful Detainer - under         Closed   STAN LEY, D EANA                          Defendant
                  10,000

CV—2017-1614      06: Limited Breach of Contract/Warranty - 10,000          Final    CRARY, CLI NTON L                         Defendant
                  to 25,000


CV-2017-1538      35: Unlimited Other non-PI/PD/WD Tort                     Closed   MOORE, EMME'I'I'                          Defendant

PR-2017-213       Decedent's Estate                                         Final


CV-2017-1496      42: Unlimited Other Complaint (Not Spec)                  Closed   BELLARD, CLEVELAND, Jr.                   Defendant
               CV-2017-1485
                                         Case       3:22-cv-02195-AGTClosedDocument 1-1 Filed 04/07/22
                                          06: Limited Breach of Contract/Warranty 10,000-
                                                                                                                Page 27 of 27 Defendant
                                                                                               TJOKROSOEHARTO, BUDY
                                            to 25,000


               CV-2017-147O                 06: Unlimited Breach of Contract/Warranty                   Closed                        HOBLIT CHRYSLER JEEP DODGE                   Defendant

               PR—2017-209                  Decedent's Estate                                           Closed

               CV-2017»1442                  15: Unlimited Other Employment                             Closed                        TRANSDEV SERVICES, INC.                      Defendant

               CV-2017-1435                 06: Limited Breach of Contract/Warranty - 10,000            Closed                        MASON, ELIZABETH                             Defendant
                                            to 25,000


               CV-2017-1390                 32: Limited Residential Unlawful Detainer       —
                                                                                                under   Closed                        FERNAN DEZ, JAVIER                           Defendant
                                             10,000

               CV—2017-1391                 06: Unlimited Breach of Contract/Warranty                   Closed                        ANDREWS, FRANK J., Jr.                       Defendant

               CV-2017»1366                 06: Unlimited Breach of Contract/Warranty                   Closed                        FORD MOTOR COMPANY                           Defendant

               CV—2017-1368                 06: Unlimited Breach of Contract/Warranty                   Final                         ZIELESCH FARMS, INC.                         Defendant

               CV-2017-1420                 23: Unlimited Other PI/PD/WD                                Closed                        IDLE WHEEL MOBILE ESTATES, MANAGEMENT CORP   Defendant

               PR-2017-195                  Other Probate With At Least One Hearing                     Active

               CV-2017-1345                 26: Unlimited Other Real Property                           Closed                        THE BANK OF NEW YORK MELLON                  Defendant

               (IV-20171362                 06: Limited Breach of Contract/Warranty - 10,000            Closed                        BOWDOIN, ROXAN NE                            Defendant
                                            to 25,000


               PR-2017-193                  Decedent's Estate                                           Final


               CV—2017-1337                 42: Unlimited Other Complaint (Not Spec)                    Closed                        ZAMBRANO, ALEJANDRO                          Defendant

               PR-2017-192                  other Probate With At Least One Hearing                     Active

               FL—2017-1 298                Dept. of Child Support Services (DCSS)                      Closed                        SY, HANYAN KEITH PALENCIA                    Defendant

               CV-2017»1290                 42: Unlimited Other Complaint (N0t Spec)                    Closed                        GUTIERREZ, MARY                              Defendant

               PR-2017- 182                 Other Probate With At Least One Hearing                     Closed


               CV-2017-1258                  10: Unlimited Construction Defect                          Active                        CENTEX HOMES                                 Defendant

               CV-2017-1251                 32: Limited Residential Unlawful Detainer - under           Closed                        PETERSON, DEREK                              Defendant
                                             10,000

               CV-2017-1267                 06: Limited Breach of Contract/Warranty - 10,000            Closed                        A&K TRANSPORT LLC                            Defendant
                                            to 25,000


               FL—2017-1 261                Dissolution Without Minor Children                          Closed                        WARREL, PATRICIA LEAH                        Defendant

               CV-2017-1216                 06: Limited Breach of Contract/Warranty - 10,000            Closed                        MCKIN NON, DANIELLE ROSS                     Defendant
                                            to 25,000


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                                                                                                                                                                                                Cases (1)
                                                                                                                                                                                                Judgments (D)

             Cases
               Case Number             V    IYLE                                                                 V   Status   Party Name                               V   PBI’YYJYLE                        v
               CV—2020-986                  06: Unlimited Breach of Contract/Warranty                                Active   M7 REGULATED, INC                            Defendant




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